          Case 4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 1 of 7 PageID #: 2167
  2AO 245B     (Rev. 09/08) Judgment in a Criminal Case
               Sheet 1


                                             United States District Court
                                                          EASTERN DISTRICT OF TEXAS
                                                                     Sherman
           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                               V.
                        ANSON CHI
                                                                            Case Number:           4:12CR00155-001

                                                                            USM Number: 44588-177
                                                                             Pro Se
                                                                            Defendant’s Attorney
 THE DEFENDANT:
 ✔pleaded guilty to count(s) 1 and 2 of the Superseding Indictment
 G
 G pleaded nolo contendere to count(s)
    which was accepted by the court.
 G was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                    Nature of Offense                                                        Offense Ended                Count
26 U.S.C. § 5841, 5845, 5861         Possession of a Firearm Not Registered in the National                    06/18/2012                  1
          (d), 5871                  Firearms Registration and Transfer Record




     18 U.S.C. § 844(i)              Explosive Materials - Malicious Use                                       06/18/2012                  2




        The defendant is sentenced as provided in pages 2 through                 7       of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 G The defendant has been found not guilty on count(s)
 ✔Count(s) remaining
 G                                                               G is      ✔
                                                                           G are      dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                            6/1/2015
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge

                                                                            RICHARD A. SCHELL
                                                                             U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge


                     Hello This is a Test                                   6/10/15
                                                                           Date
                                                                           2/15/05
          Case 4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 2 of 7 PageID #: 2168
AO 245B       (Rev. 09/08) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2       of   7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 240 months

 Count 1: 120 months. Count 2: 240 months to run concurrently with count 1.




     ✔
     G    The court makes the following recommendations to the Bureau of Prisons:

 The court recommends the defendant be provided any appropriate educational opportunities, vocational training, and
 appropriate medical care while incarcerated.
 The court recommends that defendant be evaluated for substance abuse and provided treatment.

     ✔
     G    The defendant is remanded to the custody of the United States Marshal.

     G    The defendant shall surrender to the United States Marshal for this district:

          G     at                                     G a.m.     G   p.m.       on                                             .

          G     as notified by the United States Marshal.

     G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 2 p.m. on                                             .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
      Case 4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 3 of 7 PageID #: 2169
AO 245B   (Rev. 09/08) Judgment in a Criminal Case

                                                                                         Judgment—Page    3    of      7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001

                                                     Continuation page

 The court recommends that defendant participate in a mental health treatment program.
 The court recommends that defendant participate in the inmate financial responsibility program at a rate to be determined
 in accordance with the program.
 The court recommends that defendant be designated to FCI Seagoville or Ft. Worth, if eligible.
          Case 4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 4 of 7 PageID #: 2170
AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page             of
                                                                                                                              4                7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3        years
 3 years each count to run concurrently.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
✔
G       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
✔
G       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq .)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check. if applicable.)
G       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
      Case 4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 5 of 7 PageID #: 2171
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A — Supervised Release
                                                                                            Judgment—Page   5   of   7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation officer with access to any requested financial
 information for purposes of monitoring restitution payments and employment.

 The defendant shall not incur new credit charges or open additional lines of credit without the
 approval of the probation officer unless payment of any financial obligation ordered by the Court
 has been paid in full.

 The defendant shall not participate in any form of gambling unless payment of any financial
 obligation ordered by the Court has been paid in full.

 The defendant shall participate in a program of testing and treatment for drug abuse, under the
 guidance and direction of the United States Probation Office, until such time as the defendant is
 released from the program by the probation officer.

 Under the guidance and direction of the United States Probation Office, the defendant shall
 participate in any combination of psychiatric, psychological, or mental health treatment as
 deemed appropriate by the treatment provider.
AO 245B
          Case   4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 6 of 7 PageID #: 2172
           (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       6     of
                                                                                                                                          7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         Fine                              Restitution
TOTALS             $ 200.00                                            $ 0.00                           $ 28,127.77


G    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

✔
G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                              Total Loss*      Restitution Ordered      Priority or Percentage
  ATMOS ENERGY                                                             $28,127.77                  $28,127.77            100%




                                                                  $         28,127.77       $           28,127.77
TOTALS


G     Restitution amount ordered pursuant to plea agreement $

✔
G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G    the interest requirement is waived for the         G fine G restitution.
      G    the interest requirement for the        G   fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B
          Case   4:12-cr-00155-RAS-KPJ Document 237 Filed 06/11/15 Page 7 of 7 PageID #: 2173
           (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                             Judgment — Page      7      of        7
DEFENDANT: ANSON CHI
CASE NUMBER: 4:12CR00155-001

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     ✔
      G    Lump sum payment of $            200.00             due immediately, balance due

           G     not later than                                    , or
           ✔
           G     in accordance          G     C,     G   D,   G      E, or    ✔ F below; or
                                                                              G
B     G    Payment to begin immediately (may be combined with                G C,       G D, or      G F below); or
C     G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ✔
      G    Special instructions regarding the payment of criminal monetary penalties:
 Payment to begin immediately. Any amount that remains unpaid when the defendant's supervision commences is to be paid on a monthly basis at a rate
 of at least 10% of the defendant's gross income, to be changed during supervision, if needed, based on the defendant's changed circumstances, pursuant
 to 18 U.S.C. Section 3664(k). Additionally, 100% of receipts received from gifts, tax returns, inheritances, bonuses, lawsuit awards, and any other
 receipt of money (to include, but not limited to, gambling proceeds, lottery winnings, and found money) must be paid toward the unpaid fine balance
 within 5 days of receipt.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to: the U.S. District Court, Fine & Restitution, 1910 E SE Loop 323 No 287, Tyler, TX 75701

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

G     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
